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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
MARIA LOTOCZKY,
Plaintiff, Hon. John Corbett O’Meara
v. Case No. 04-74365

Magistrate Judge R. Steven Whalen
CONNECTED VENTURES, LLC,

Defendant.

SAKIS & SAKIS, PLC

By: Jason R. Sakis (P59525)

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(248) 649-1160

Attorneys for Plaintiff

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DEFENDANT’S MOTION TO RECOVER FEES AND EXPENSES INCURRED
AS A DIRECT RESULT OF DISCOVERY ABUSE BY
PLAINTIFF’S ATTORNEYS, SAKIS & SAKIS, PLC

Defendant, Connected Ventures, LLC, hereby moves the Court, pursuant to
Federal Rules of Civil Procedure 30 and 37 and the inherent power of the Court, for an
Order that Sakis & Sakis, PLC (the “Sakis Firm”) pay defendant $5303.43 to reimburse
defendant for the attorney’s fees, costs and expenses it incurred as a direct result of the

Sakis Firm’s failure to provide timely notice that plaintiff would not be appearing for her
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properly-noticed deposition.

This Motion is based upon Rules 30 and 37 of the Federal Rules of Civil
Procedure, Principle 16 of the Civility Principles of the United States District Court for
the Eastern District of Michigan, the Brief in Support filed herewith, the Affidavit of
Douglas A. Kuber filed herewith, the Affidavit of David Draper filed herewith, the
pleadings and records on file in this action, and such other and further evidence and
authority as may be presented prior to or at any hearing on this matter.

In compliance with Local Rule 7.1, there was a conference between the attorneys
for the parties in which defendant’s counsel explained to the Sakis Firm the nature of the
motion and its legal basis and requested but did not obtain concurrence in the relief

sought.
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ISSUE PRESENTED

Should the Sakis Firm be required to reimburse defendant for the attorney’s fees,
costs and expenses it incurred as a direct result of the Sakis Firm’s failure to

provide timely notice that plaintiff would not be appearing for her properly-

noticed deposition?
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AUTHORITY FOR GRANTING THE MOTION

e Principle 16 of the Civility Principles of the United States District Court for
the Eastern District of Michigan (“Court’s Civility Principles”)
e Rules 30(d) and (g)(1) and Rule 37 of the Federal Rules of Civil Procedure

e Bass v. Jostens, Inc., 71 F.3d 237 (6" Cir. 1995)

e Inre Air Crash Disaster at Detroit Metropolitan Airport on Aug. 16, 1987, 130

F.R.D. 627, 629-30 (E.D. Mich. 1989)

e Barnes v. Madison, 79 Fed. Appx. 691, 707 (5" Cir. 2003)

e Barton v. District of Columbia, 209 F.R.D. 274, 278 (D.D.C. 2002)

e Delozier v. First Nat. Bank of Gatlinburg, 109 F.R.D. 161 (E.D. Tenn. 1986)

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BRIEF IN SUPPORT OF DEFENDANT’S MOTION TO RECOVER FEES AND
EXPENSES INCURRED AS A DIRECT RESULT OF DISCOVERY ABUSE BY
PLAINTIFF’S ATTORNEYS, SAKIS & SAKIS, PLC

PRELIMINARY STATEMENT

This Motion is brought to obtain redress for the intentional discovery abuse by
plaintiff attorneys, the Sakis Firm. In particular, this Motion addresses the Sakis Firm’s
failure—in violation of Federal Rule 37(d) and Principle 16 of this Court’s Civility
Principles—to provide timely notice of non-appearance with respect to the properly
noticed deposition of the plaintiff. As a direct result of the Sakis Firm’s conduct,
defendant was forced to incur substantial attorney’s fees and expenses.

STATEMENT OF FACTS

On May 17, 2005, Defendant served plaintiffs counsel, the Sakis Firm, with a
Notice of Deposition of Plaintiff, which set such deposition to commence on June 21,
2005, at 9:30 a.m. (Affidavit of Douglas A. Kuber dated July 18, 2005 (“Kuber Aff.”),
Exhibit A, §2) On May 18, 2005, defendant’s counsel, Douglas Kuber, faxed a letter to
Jason Sakis confirming that plaintiff's deposition will commence on June 21° and was
expected to take three days to complete. (Id., Exhibit B, 3) The letter also requested
that Mr. Sakis notify Mr. Kuber in the event the scheduled dates were not available for
either Mr. Sakis or the plaintiff, in which event, Mr. Kuber would reschedule plaintiff's
deposition. (Ibid.)

Mr. Sakis never objected to the dates set for plaintiff's deposition, or called to
notify Mr. Kuber that plaintiff would not be appearing for her properly-noticed
deposition. (Kuber Aff., 4) Accordingly, on June 20", Mr. Kuber traveled to Detroit to

take plaintiff's deposition. (Kuber Aff., 95)
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At 4:51 p.m. on June 20", less than ten minutes before close of business on the
day before plaintiff's deposition was to have commenced, Mr. Sakis’ assistant telephoned
David Draper, local counsel for defendant, and advised that plaintiff would not be
attending her deposition. (Affidavit of David Draper dated July 18, 2005 (“Draper
Aff.”), 92) She also stated that Mr. Sakis would likewise not be making an appearance.
(Ibid.) Mr. Draper advised her that Mr. Kuber had flown in from New York to take the
deposition, that a court reporter had been ordered, and that a record would be made of the
nonappearance by plaintiff and her counsel. (Draper Aff., 3)

Had the Sakis Firm provided notice even on the morning on June 20", instead of
waiting until just before Mr. Draper’s office closed for the day on the evening of the 20",
the unnecessary expense could have been spared. (Kuber Aff., 7) Instead, as a direct
result of the Sakis Firm waiting until the last minute to notify defendant’s counsel that
plaintiff would not appear for her deposition, defendant has incurred substantial expenses
due to Mr. Kuber’s wasted journey to Detroit. In particular, defendant incurred the
following expenses as a direct result of the Sakis Firm’s abusive conduct:'

Attorney’s fees of $3,200 (8 hours @ $400) for the time spent by Mr. Kuber

traveling to and from Detroit.

e Attorney’s fees of $960 (2.4 @ $400) for the time spent in researching and
drafting this Motion.

e Airfare of $755.90 (which was initially $344.90 but, because he needed to change
his flight to return earlier than expected, it was increased to $755.90).

Hotel expense of $293.57, as it was past the hotel’s cancellation deadline when

' The expenses incurred by defendant as a result of the Sakis Firm’s failure to provide timely notice, are
described in the Kuber Aff., 49, and the backup documentation is collectively attached as Exhibit C.
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notice was provided.
e Car rental of $93.96
On June 21*, neither plaintiff nor her counsel appeared for her properly-noticed
deposition. (Kuber Aff., Exhibit D, 48)
THE SAKIS FIRM SHOULD BE REQUIRED TO REIMBURSE DEFENDANT

FOR THE EXPENSES IT INCURRED AS A DIRECT RESULT OF THE SAKIS
FIRM’S FAILURE TO PROVIDE TIMELY NOTICE OF NON-APPEARANCE

Principle 16 of this Court’s Civility Principles states as follows:

We will notify other counsel and, if appropriate, the Court or other
persons, at the earliest possible time when hearings, depositions, meetings
or conferences are to be cancelled or postponed. Early notice avoids
unnecessary travel and expense of counsel and may enable the Court to
use the previously-reserved time for other matters. (emphasis added).

It cannot be contested that the Sakis Firm violated this Court’s Civility Principles.
Likewise, it cannot be contested that their lack of timely notice caused the “unnecessary
travel and expense of counsel.”

Rule 37(d) of the Federal Rules of Civil Procedure authorizes the imposition of
sanctions against a party’s counsel for a failure to appear at a properly noticed deposition:

Failure of Party to Attend at Own Deposition or Serve Answers to
Interrogatories or Respond to Request for Inspection. If a party or an
officer, director, or managing agent of a party or a person designated
under Rule 30(b)(6) or 31(a) to testify on behalf of a party fails (1) to
appear before the officer who is to take the deposition, after being served
with a proper notice, or (2) to serve answers or objections to
interrogatories submitted under Rule 33, after proper service of the
interrogatories, or (3) to serve a written response to a request for
inspection submitted under Rule 34, after proper service of the request,
the court in which the action is pending on motion may make such
orders in regard to the failure as are just, and among others it may take
any action authorized under subparagraphs (A), (B), and (C) of
subdivision (b)(2) of this rule. Any motion specifying a failure under
clause (2) or (3) of this subdivision shall include a certification that the
movant has in good faith conferred or attempted to confer with the party
failing to answer or respond in an effort to obtain such answer or response
without court action. In lieu of any order or in addition thereto, the
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court shall require the party failing to act or the attorney advising
that party or both to pay the reasonable expenses, including
attorney's fees, caused by the failure unless the court finds that the
failure was substantially justified or that other circumstances make
an award of expenses unjust. (emphasis added).

Thus, reimbursement of defendant’s expenses is mandatory unless the court finds
“substantial justification” for the Sakis Firm’s untimely notice. There is no substantial
justification here.

Based upon a prior filing by the Sakis Firm, we expect it to argue that its Motion
to Withdraw from Representation somehow constituted notice to defendant that plaintiff
would not be appearing for her properly noticed deposition. Not so.

First, it is well-settled that filing of a motion to withdraw does not stay

proceedings in an action. See, e.g., Barton v. District of Columbia, 209 F.R.D. 274, 278

(D.D.C. 2002) (denying counsel’s motion to stay proceedings during pendency of motion
to withdraw). Indeed, even the filing of a motion for a protective order does not excuse a

party from appearing. In Barnes v. Madison, 79 Fed. Appx. 691, 707 (5™ Cir. 2003), the

court sanctioned the plaintiff for proffering such an excuse:

In explaining that Barnes's failure to appear was not substantially justified,
the district court noted, among other factors, that she had not filed a
motion for a protective order. Barnes argues vigorously on appeal that she
had in fact filed a motion for a protective order before the deposition.
From our review of the docket and the record, it indeed appears that she
had filed, on May 17, a combined motion to quash and motion for a
protective order. Nonetheless, the mere act of filing a motion for a
protective order does not relieve a party of the duty to appear; the
party is obliged to appear until some order of the court excuses
attendance. See King v. Fidelity Nat'l Bank of Baton Rouge, 712 F.2d
188, 191 (Sth Cir. 1983) (per curiam); Hepperle v. Johnston, 590 F.2d
609, 613 (Sth Cir. 1979); Goodwin v. City of Boston, 118 F.R.D. 297, 298
(D.Mass. 1988). Barnes had received notice of the deposition on May 8,
yet she did not file her motion for a protective order until May 17, the
Friday preceding her Monday morning deposition. Given the timing,
Barnes could hardly have expected in good faith to receive a court order
excusing her attendance. Therefore, we cannot say that the district court
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abused its discretion in finding that Barnes's failure to appear was not
substantially justified. (emphasis added).

In fact, we have been unable to locate even a single case which would support the
assertion that the filing of a motion to withdraw constitutes “substantial justification” for
a party’s failure to appear at their properly-noticed deposition.

Second, the Sakis Firm’s own actions belie this argument and, indeed, confirm the
Sakis Firm’s knowledge that it was required to provide notice to the defendant of non-
appearance. Had the Sakis Firm honestly believed that its motion to withdraw had
constituted notice to the defendant that plaintiff would not be appearing for her
deposition, the Sakis Firm would never have called—albeit belatedly—to provide notice
of such to defendant’s counsel the day before plaintiff's deposition was to commence.

Moreover, had defendant’s counsel failed to appear for plaintiff's deposition, and
plaintiff and/or her counsel had then appeared, defendant’s counsel would have been
subject to sanctions for its own failure to appear. Rule 30(g)(1) of the Federal Rules of
Civil Procedure states:

If the party giving the notice of the taking of a deposition fails to attend

and proceed therewith and another party attends in person or by attorney

pursuant to the notice, the court may order the party giving the notice to

pay such other party the reasonable expenses incurred by that party and
that party’s attorney in attending, including reasonable attorney’s fees.

Given the mandatory nature of the Federal Rules, the Sixth Circuit Court of
Appeals has sanctioned a plaintiff for refusing to appear for her deposition with the

harshest sanction of all -- dismissal. In Bass v. Jostens, Inc., 71 F.3d 237 (6" Cir. 1995),

the court held that plaintiff's refusal to appear for her deposition, causing defense counsel
to travel from out-of-state, justified the imposition of that harsh sanction. While the
defendant does not seek dismissal, as the defendant did in Bass supra, the Sakis Firm’s

failure to notify defendant of plaintiffs intended default mandates an award of the fees
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and expenses incurred as a result of the Sakis Firm’s conduct.

Awarding fees and costs incurred as a result of a failure to appear for deposition is

a proper remedy that is well recognized by federal courts. In In re Air Crash Disaster at

Detroit Metropolitan Airport on Aug. 16, 1987, 130 F.R.D. 627, 629-30 (E.D. Mich.

1989), Northwest Airlines failed to produce a witness for a deposition, causing expense
to the adversary. Consequently, the court ordered Northwest to pay its adversary’s
attorney’s fees and costs:

As a general rule, a party or person must seek a protective order from the
court under Rule 26(c) if he desires not to appear or respond to a discovery
request. In most circumstances, objections must be filed before the date of
the deposition. Failure to seek judicial relief prior to this date will preclude
a later objection.

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Finally, this Court concludes that Northwest's failure to produce Chapman
was not "substantially justified." Hence, Northwest is directed to pay all
reasonable and necessary costs, including attorneys' fees, that may be
incurred by MDC in connection with the Chapman deposition.
(citations omitted) (emphasis added).

Similarly, in Delozier v. First Nat. Bank of Gatlinburg, 109 F.R.D. 161 (E.D.

Tenn. 1986), the court awarded the fees and costs for defendant’s appearance at his
deposition, which was noticed by plaintiff, but which plaintiff did not timely cancel or
adjourn, reasoning:

The attorney for defendant FNBG also alleges in his affidavit that he was
served by plaintiffs' counsel with notice of the taking of the deposition of
defendant Arthur Skula; that he expended considerable time as well as
travel expenses in preparing for same; that when he arrived at the office of
plaintiffs’ local counsel in Sevierville, he was advised that Mr. Skula
would not appear and that through some oversight he had not been notified
earlier. From the copy of the letter from plaintiffs’ attorney to defendant's
attorney, attached to his affidavit, it appears that plaintiffs’ attorneys were
unable to contact Mr. Skula to confirm his presence for discovery. The
plaintiffs have not responded to this motion of defendant FNBG. The
undersigned agrees with defendant's contention that under Rule 30(g),
Federal Rules of Civil Procedure, the defendant is entitled to be
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reimbursed for expenses incurred here.

Defendant is not requesting the harsh sanction of dismissal, but is simply seeking
to be reimbursed for the amount it has incurred as a direct result of the Sakis Firm’s

failure to provide timely notice.

CONCLUSION

The Sakis Firm cannot dispute that a proper Notice for Deposition was served

more than 30 days in advance of the deposition date for plaintiff's deposition. Nor can
they dispute that they never objected to the Notice or to the dates selected for the
deposition. Equally uncontroverted is the fact that defense counsel had already arrived
in Michigan and registered at his hotel when the Sakis Firm made its last-minute
cancellation call. Accordingly, there can be no dispute that the Sakis Firm caused
defendant to unnecessarily incur expenses by their failure to provide timely notice of
non-appearance.

WHEREFORE, for the foregoing reasons, defendant respectfully requests that
this Court enter an Order granting defendant’s motion and awarding fees, costs and
expenses to defendant in the sum of $5303.43, to be paid within 10 days from the date of
this Court’s order, together with such other and further relief as this Court deems just and

proper.

/KUBER LAW GROUP, ,P.C.
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Dated: July 20, 2005

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CERTIFICATE OF SERVICE

The undersigned certifies that on this 20" Day of July, 2005, she/he did
electronically file the preceding document, constituting service on plaintiffs counsel of
record.

/s_ Douglas A. Kuber
Attorney for Defendant

July 20, 2005
